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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN

BAN ATCHOO,                                 ) Case No.:
                                            )
              Plaintiff,                    ) Hon.
                                            )
      v.                                    )
                                            )
ACADEMY COLLECTION SERVICES,                )
INC.,                                       )
                                            )
              Defendant.                    )



                            COMPLAINT AND JURY DEMAND

      Plaintiff, BAN ATCHOO (“Plaintiff”), by her attorneys, KROHN & MOSS, LTD.,

alleges the following against Defendant, ACADEMY COLLECTION SERVICES, INC.

(“Defendant”):

                                     INTRODUCTION

   1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

      U.S.C. 1692 et seq. (FDCPA).

                               JURISDICTION AND VENUE

   2. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

      actions may be brought and heard before “any appropriate United States district court

      without regard to the amount in controversy.”

   3. Defendant conducts business in the state of Michigan, and therefore, personal

      jurisdiction is established.

   4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                                         PARTIES

   5. Plaintiff is a natural person residing in West Bloomfield, Oakland County, Michigan.

   6. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to




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    Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

 7. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and sought

    to collect a consumer debt from Plaintiff.

 8. Defendant is a collection agency with a business office in Philadelphia, Pennsylvania.

 9. Defendant acted through its agents, employees, officers, members, directors, heirs,

    successors, assigns, principals, trustees, sureties, subrogees, representatives, and

    insurers.

                               FACTUAL ALLEGATIONS

 10. Upon information and belief, Defendant is collecting on an alleged debt owed to GE

    Money Bank GE Capital in the amount of approximately $806.55.

 11. Defendant places collection calls to Plaintiff’s cell phone from 888-220-8589, 866-998-

    4558, 856-668-4530 and 800-503-3852.

 12. Between March 22, 2010 and May 19, 2010, Defendant placed at least thirty-six (36)

    calls to Plaintiff.

 13. Defendant places collection calls to Plaintiff up to three times per day.

 14. Defendant leaves messages for Plaintiff that fail to disclose that the call was from a debt

    collector.

 15. Defendant leaves messages for Plaintiff stating that it is “very important that you return

    the call.”

 16. Despite Defendant’s messages, no further action beyond continued calls have occurred.

                          COUNT I
 DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

 17. Defendant violated the FDCPA based on the following:

        a. Defendant violated §1692d of the FDCPA by engaging in conduct that the

            natural consequences of which was to harass, oppress, and abuse Plaintiff in



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               connection with the collection of an alleged debt.

           b. Defendant violated §1692d(5) of the FDCPA by causing Plaintiff’s telephone to

               ring or engaging Plaintiff in telephone conversation repeatedly or continuously

               with intent to annoy, abuse, or harass Plaintiff.

           c. Defendant violated §1692d(6) of the FDCPA by placing telephone calls without

               meaningful disclosure of the caller’s identity.

           d. Defendant violated §1692e of the FDCPA by using false, deceptive, and

               misleading representations in connection with the collection of any debt.

           e. Defendant violated §1692e(10) of the FDCPA by using deceptive means in an

               attempt to collect a debt.

           f. Defendant violated §1692e(11) of the FDCPA by failing to disclose in

               subsequent communications that the communication was from a debt collector.

        WHEREFORE, Plaintiff, BAN ATCHOO, respectfully requests judgment be entered

against Defendant, ACADEMY COLLECTION SERVICES, INC., for the following:

   18. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

        U.S.C. 1692k,

   19. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

        15 U.S.C. 1692k, and

   20. Any other relief that this Honorable Court deems appropriate.

                                DEMAND FOR JURY TRIAL

        PLEASE TAKE NOTICE that Plaintiff, BAN ATCHOO, demands a jury trial in this

case.




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DATED: August 10, 2010          RESPECTFULLY SUBMITTED,

                                KROHN & MOSS, LTD.



                            By: /s/ Michael S. Agruss

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